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H£DBK", if _ng
IN THE UNITED STA'I‘ES DISTRICT COURT *__
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

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UNITED sTATES OF AMERICA, Q-%US.TN D!STHCICOLBT
vs. NO. 04-20383-Ma

CLARENCE S. DAVIS,

Defendant.

 

ORDER GR.ANTING MOTION FOR HEARING

 

Before the court is defendant's July 21, 2005, motion
requesting that the court set a hearing to determine defendant’s
mental capacity to stand trial in this matter. For good cause
shown, the motion is granted. A hearing is set Thursday, August

18, 2005, at 2:00 p.m.

It is so oRDERED this 'LQ'{day of July, 2005.

y/Md

 

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

Thls document entered on the docket sheet In compliance
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thice of Distribution

This notice confirms a copy of the document docketed as number 40 in
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Honcrable Samuel Mays
US DISTRICT COURT

